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                   Exhibit O
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                                 UNITED STATES DISTRICT COURT
                                 FOR THE DISTRICT OF MARYLAND

 NATIONAL ASSOCIATION FOR THE
 ADVANCEMENT OF COLORED PEOPLE,
 et al.,

                   Plaintiffs,
                                                           Civil Action No. 25-965-JRR
                           v.

 THE UNITED STATES OF AMERICA, et al.,

                   Defendants.

                            DECLARATION OF DOE DECLARANT #6

           I, Doe Declarant #6, declare pursuant to 28 U.S.C. § 1746 that the following is true and

correct:

           1.     I am providing this declaration pursuant to 5 U.S.C. § 2302(b)(8) and (b)(9).

           2.     I am a senior attorney at the Office for Civil Rights (“OCR”), of the United States

Department of Education (“the Department”), Cleveland field office. I have been in this position

for over 18 years. Before this position, I worked at a non-profit and was an attorney at the U.S.

Department of Justice, Antitrust Division. I have a J.D. and a bachelor’s degree.

           3.     In 2021, I took a 10-month data science training program with the Department’s

Office of the Chief Data Officer and as part of the Department’s implementation of the Foundation

for Evidence-based Policymaking Act of 2018.

           4.     As a senior attorney, I was the lead attorney on 36 active investigations into

complaints regarding civil rights violations at K-12 and institutions of higher education in Ohio and

Michigan. During active investigations, my tasks included reviewing complaints, making

determinations regarding whether the complaints were appropriate for investigation, drafting data
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and document requests, reviewing documents, preparing for and conducting witness interviews,

analyzing and synthesizing facts, drafting internal memos and external correspondence, and

negotiating resolution agreements.

       5.      I was also responsible for monitoring 12 resolution agreements and their

implementation. In addition, I provided technical assistance to public entities, parents and

guardians, students, and the public on civil rights issues.

       6.      In addition to my legal work as a senior attorney, as part of my regular day-to-day

duties, I was responsible for creating, maintaining, obtaining data for, analyzing, and internally

publishing nationwide OCR data dashboards.

       7.      I regularly obtained data for and published the following data categories on the

dashboards, including:

            a. the total number of investigators at each field office;

            b. the total number of active cases (disaggregated by type of claim);

            c. the number of active cases per investigator;

            d. the number of monitoring cases per field office;

            e. average number of active cases per investigator at each field office;

            f. the number of cases closed at each field office; and

            g. the percentage of cases that were closed by day 180 in a field office.

       8.      I last refreshed the dashboards on March 11, 2025.

       9.      Additionally, I and others throughout OCR were provided with a report generated

by headquarters containing various metrics on a monthly and fiscal year (“FY”) basis. This report

is known as the CMS Report. The CMS Report includes metrics around investigative staff,

complaints, resolutions, and Government Performance and Results Act (“GPRA”) standards, both




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in total for OCR and by regional office. I received the FY 2024 CMS Report. A true and accurate

copy is attached to this Declaration as Exhibit 1.

       10.     I am providing this declaration in connection with the drastic downsizing of OCR

and closing of more than half of its enforcement offices, including the announcement on March

11, 2025, that the Department would be reducing its staff by 50% and that this was a “significant

step” towards the Department’s “final mission.” U.S. Department of Education Initiates Reduction

in    Force,    Press     Release,     Department     of    Education     (Mar.     11,    2025),

https://www.ed.gov/about/news/press-release/us-department-of-education-initiates-reduction-

force (“March 11 Press Release”).

       11.     On March 11, 2025, I received an email stating that my position was eliminated and

that I had until March 21, 2025, to close out my job. However, the only tasks I could perform from

March 12 through 21 were to enter my timesheets and send and receive emails internally. I did not

have access to the OCR Case Management System, or Document Management System, nor could

I email anyone outside of OCR after March 11, even though I received emails from complainants

and recipients asking about the status of cases, trying to respond to data requests, and regarding

other case-related activity. I will be employed by the Department through June 9, 2025, but have

been unable to do any work on my cases since the March 11 notice.

       12.     I have received emails from colleagues informing me that many across OCR

received similar notices and that the Department closed the Boston, Chicago, Cleveland, Dallas,

New York, Philadelphia, and San Francisco OCR regional offices (collectively, the “Closed

Offices”), and left open the Atlanta, Denver, Kansas City, DC Metro (“Metro”), and Seattle OCR

regional offices (collectively, the “Open Offices”). I also read press accounts reporting these

actions.




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       13.     As of the date of this declaration, the Department “Contact OCR” website confirms

that complaints and inquiries from states once served by the Boston and New York regional offices

are now routed to the Metro office; states once served by the Chicago and Cleveland offices are

now routed to Denver; states once served by the Dallas office are now routed to Kansas City; states

once served by the Philadelphia office are now routed to Atlanta; and states once served by the

San Francisco office are now routed to Seattle. See OCR, 2024 FY Annual Report 7,

https://www.ed.gov/media/document/ocr-report-president-and-secretary-of-education-2024-

109012.pdf; Contact OCR, https://ocrcas.ed.gov/contact-ocr (last visited June 5, 2025). The chart

below shows which states, districts, and territories are currently being served by the Open Offices.

 OCR Regional          State, District, or Territory      Additional States and Territories
 Office                served prior to March 21,          served by the Open Offices after
                       2025                               March 21
 Open Offices
 WASHINGTON,           DC, VA, NC, SC                     MA, ME, VT, NH, RI, CT, NY, NJ,
 DC (METRO)                                               PUERTO RICO, U.S. VIRGIN
                                                          ISLANDS
 ATLANTA, GA           GA, TN, AL, FL                     PA, DE, MD, WV, KY
 DENVER, CO            CO, WY, UT, AZ, NM                 IL, IN, IA, WI, MN, ND, OH, MI
 KANSAS CITY,          MO, SD, NE, KS, OK, AR             TX, LA, MS
 MO
 SEATTLE, WA           WA, OR, ID, MT, NV, AK, HI,        CA
                       AMERICAN SAMOA,
                       GUAM, NORTHERN
                       MARIANA ISLANDS
 Closed Offices
 NEW YORK, NY          NY, NJ, PUERTO RICO, U.S.
                       VIRGIN ISLANDS
 PHILADELPHIA,         PA, DE, MD, WV, KY
 PA




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 OCR Regional             State, District, or Territory   Additional States and Territories
 Office                   served prior to March 21,       served by the Open Offices after
                          2025                            March 21
 SAN                      CA
 FRANCISCO, CA
 BOSTON, MA               MA, ME, VT, NH, RI, CT
 CHICAGO, IL              IL, IN, IA, WI, MN, ND
 CLEVELAND,               OH, MI
 OH
 DALLAS, TX               TX, LA, MS


       14.     I have heard that the Secretary of Education explained that the administration chose

to close the lowest performing offices, and that the Open Offices can and will absorb the additional

work. This is not true.

       15.     I know that my hardworking colleagues in all the regional offices did their very best

with the resources OCR gave them. But caseloads were too high even prior to March 11, 2025,

which is evidenced by the fact that, for FY 2024, ten of the twelve regional offices failed to meet

the GPRA goal of resolving 80% of cases received during that FY within 180 days. In addition to

the GPRA percentages, the CMS Report also details the number of cases resolved and number of

investigators in each office. The chart below shows both the GPRA percentage by office and

evidence that the office closure decisions do not correlate with success in resolving cases. For

example, Chicago and Cleveland, two offices with relatively high average number of cases

resolved per investigator during FY 2024, were closed, while Atlanta and Seattle, two offices with

low average closure rates per investigator, remain open. By these measures, some of the most

effective, efficient offices were closed, and some less productive offices remain open.




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 OCR: Regional Office Productivity Measures (FY 2024)
 Closed Offices % Cases Resolved # of Cases Resolved / # of Full Time
                in 180 Days         Investigators = Average # of Cases Resolved
                                    per Investigator
 Boston         70%                 868 / 20: 43 cases per investigator
 Chicago        74%                 1176 / 33: 36 cases per investigator
 Cleveland      73%                 1104 / 25: 44 cases per investigator
 Dallas         71%                 1526 / 40: 38 cases per investigator
 New York       66%                 916 / 32: 29 cases per investigator
 Philadelphia   63%                 713 / 24.5: 29 cases per investigator
 San Francisco  65%                 1419 / 35: 41 cases per investigator
 Open Offices
 Atlanta        55%                 880 / 42: 21 cases per investigator
 Denver         83%                 1154/ 22.5: 51 cases per investigator
 DC Metro       71%                 1167/ 29.5: 40 cases per investigator
 Kansas City    81%                 815 / 26: 31 cases per investigator
 Seattle        64%                 626 / 24: 26 cases per investigator

       16.     All of the Open Offices are facing an influx of cases from the Closed Offices that

will further burden the ability of investigators to meet the 180-day goal. It is impossible for the

remaining investigative staff to absorb the additional cases in a way that will allow for any

meaningful enforcement of civil rights laws in the education systems of this country. In January

2025, offices reported that there were 375.5 (372 full time and 7 part time) total investigators at

OCR across the country. (Compare this to the 353.5 investigators at the end of FY 2024 (September

30, 2024), shown in the chart above; OCR had hired around 22 additional investigators to start

addressing the high case load.) Since then, due to both the March 11th RIF as well as the other

efforts by the Trump Administration to reduce the size of the federal workforce, the number of

staff has been drastically reduced. The dashboards show that, as of March 11, 2025, the

investigators at the Closed Offices were investigating a total of 9,181 active cases, 57% of the total

number of active OCR cases (16,022). At least 7,037 of the active cases that were being investigated

by staff at a Closed Office as of March 11, 2025, included an allegation or claim of noncompliance


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with Section 504 of the Rehabilitation Act of 1973 or Title II of the Americans with Disabilities

Act of 1990.

       17.     The Closed Offices had an aggregate of 224.5 investigators, approximately 60% of

the total number of OCR investigators (375.5), leaving only 151 investigators at the Open Offices.

       18.     After the mass terminations and office closures, OCR has no more than 151

investigators assigned to 16,022 cases, an average of 106 cases per investigator. However, the true

estimate is likely higher, given the number of OCR investigators that I personally know who have

left OCR since January because of communications from the Trump administration. For example,

on May 22, 2025, I communicated with a current employee at the Denver office, which is an Open

Office, and learned that Denver had only 16 investigators. On March 11, Denver had 773 open

cases. As shown above, Cleveland and Chicago’s cases went to Denver; Cleveland had 1,151 cases

and Chicago had 1,407 cases. This means that beginning March 22, Denver had 3,331 open cases;

with 16 investigators, this is an average case load of 208 cases per investigator.

       19.     This is a completely untenable caseload and will necessarily prevent OCR from

fulfilling its mandate of promptly investigating and resolving civil rights complaints. The data

supports this conclusion. According to the FY 2024 CMS Report, Denver, the office with the

highest percentage of cases resolved within 180 days (83%), also had one of the lowest caseloads

per investigator (665 pending cases, 22.5 investigators = 30 cases per investigator). Atlanta, the

office with the highest caseload per investigator (1,972 pending cases, 42 investigators = 47 cases

per investigator), also had the lowest number of cases resolved within 180 days (55%).

       20.     The 16,022 cases do not even include the number of cases in monitoring. Cases in

monitoring are cases where OCR found a violation or had a cause for concern, and the school

signed a resolution agreement requiring it to take action to come back into compliance with the




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civil rights laws. Cases in monitoring demand considerable time and action to make sure the school

fulfills the actions and deadlines set out in the Resolution Agreement; often the assigned attorney

must review and edit complex documents and policies. As of March 11, 2025, OCR had 2,765

cases in monitoring, 902 of which (33%) had been handled by the Closed Offices. (The National

Digital Accessibility Team, with staff who had specialized expertise in website and online

accessibility, had 870 cases in monitoring. I do not know what happened to that team.)

       21.     The failure to institute any kind of procedure for transitioning cases only magnifies

the harm. I am employed by the Department until June 9, 2025, but have not been afforded any

opportunity to update or assist in transferring the cases I worked until March 11, 2025. I could not

do this work even from March 12-21, before I was shut out from accessing any OCR facilities and

my computer. My Cleveland Office colleagues and I could not update our cases in the Case

Management System, or upload documents or emails to the Document Management System, nor

could we respond to emails from outside the Department, including from parents, witnesses, or

schools engaged in investigations, mediations, or monitoring. I know that our Acting Director

asked if we could get the access needed to take these steps but was told no.

       22.     To provide one example of how the failure to transition cases harmed one of my 12

cases in monitoring: I was the senior attorney monitoring a Resolution Agreement reached with a

large university regarding multiple complaints of discrimination against students on the basis of

national origin (Jewish Ancestry / Israeli) in violation of Title VI. The Resolution Agreement

required the university to take several actions, including revising its Title VI policies and the

process for handling these complaints. I was responsible for ensuring the university fully complied

with the Agreement, including reviewing and editing draft documents and policies and approving

required actions under the Agreement. Despite the critical work underway on this case, after March




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11, 2025, I had no way to contact the university on behalf of OCR. I did not know when any

attorney would take over the case, and I had no ability to access and make updates or flag priorities

for fulfilling the terms of the Resolution Agreement.

       23.     As a senior attorney with 18 years of experience at OCR, if I were assigned 106

active cases, I would either be forced to conduct cursory investigations that are investigations in

name only in order to resolve the cases in a timely fashion or allow cases to languish for an

unreasonably long time. And it would be impossible for me to do comprehensive monitoring on

additional cases.

       24.     In addition to the burden of an unmanageable docket of existing cases, the Open

Offices will be overwhelmed by new complaints. To take two examples: Metro (Open Office)

must now find a way to process incoming complaints from states formerly served by Boston and

New York (Closed Offices); similarly, Denver (Open Office) now receives new complaints from

states formerly served by Cleveland and Chicago (Closed Offices).

       25.     The more time passes, the more difficult it is to investigate a complaint and the less

effective a remedy can be. Witness memories fade. Documents are lost or destroyed. Complaining

victims move on with their lives and do not want to be retraumatized. And the damage done by a

lost year of educational opportunities due to discrimination or harassment is not readily undone.

As a result, meritorious complaints, and the students affected by those complaints, will necessarily

be denied the access to educational opportunities they are due because of the Department’s radical

downsizing of OCR and closing of more than half of its enforcement offices.




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       I declare under penalty of perjury under the laws of the United States, that, to the best of

my knowledge, the foregoing is true and correct.

       Executed June 9, 2025.

                                                                      /s/Doe Declarant #6*
                                                                      Doe Declarant #6

*Plaintiffs’ counsel hereby certifies that they have a signed copy of the foregoing document
available for inspection.




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